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        WILLIAM H. SHREVE
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9
10                     IN THE UNITED STATES DISTRICT COURT
11                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
        WILLIAM H. SHREVE,                        Case No. 8:20-mc-00020
14
                   Movant,                        [Action pending in U.S. District
15
                                                  Court for the District of Delaware,
16            v.                                  Case No. 1:18-cv-01394-RGA]
17      GUEST TEK INTERACTIVE                     NOTICE OF MOTION AND
        ENTERTAINMENT LTD.,                       MOTION OF WILLIAM H.
18
                                                  SHREVE TO QUASH
19                 Respondent.
                                                  SUBPOENA AND FOR A
20                                                PROTECTIVE ORDER
21                                                HEARING:
22                                                Date: TBD
                                                  Time: TBD
23                                                Courtroom: TBD
24
25
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1                  PLEASE TAKE NOTICE that at a date and time to be determined by this
2       Court, Third-Party William H. Shreve (“Mr. Shreve”) hereby moves, pursuant to
3       Federal Rules of Civil Procedure 26(c) and 45, for an order quashing the subpoena
4       to appear at a deposition served by Plaintiff Guest Tek Interactive Entertainment
5       Ltd. on Mr. Shreve in connection with Guest Tek Interactive Entertainment Ltd. v.
6       Nomadix, Inc., No. 1:18-cv-01394-RGA (Del.) and for a protective order
7       prohibiting that deposition.
8                  Counsel for Mr. Shreve has in good faith conferred via email with counsel
9       for Guest Tek in an effort to resolve the dispute without court action.
10                 Mr. Shreve bases the motion on this notice; the concurrently filed opening
11      brief; the supporting declarations of Justin J. Gillett and William H. Shreve, and
12      any exhibits thereto; any subsequently filed briefs; the pleadings and papers filed
13      in this action; and any other arguments, evidence, and matters submitted to the
14      Court, at the hearing or otherwise. Mr. Shreve is also lodging a proposed order for
15      the Court’s consideration.
16
17                                        Respectfully submitted,
18                                        KNOBBE, MARTENS, OLSON & BEAR, LLP
19
20      Dated: September 11, 2020         /s/ Justin J. Gillett
                                          Douglas G. Muehlhauser
21                                        Mark Lezama
                                          Justin J. Gillett
22
                                          Attorneys for
23                                        WILLIAM H. SHREVE
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